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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Katherine Mazur-Worden,                    )
                                           )
        Plaintiff,                         )
                                           )
        v.                                 )      No.    14 C 4576
                                           )
Transworld Systems, Inc., a                )
California corporation,                    )
                                           )
        Defendant.                         )      Jury Demanded

                                        COMPLAINT

        Plaintiff, Katherine Mazur-Worden, brings this action under the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that

Defendant’s debt collection actions violated the FDCPA, and to recover damages for

Defendant’s violations of the FDCPA, and alleges:

                               JURISDICTION AND VENUE

        1.      This Court has jurisdiction, pursuant to § 1692k(d) of the FDCPA and 28

U.S.C. § 1331.

        2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant resides and transacts

business here.

                                          PARTIES

        3.      Plaintiff, Katherine Mazur-Worden (“Mazur-Worden"), is a citizen of the

State of Illinois, residing in the Northern District of Illinois, from whom Defendant

attempted to collect a delinquent consumer debt that she allegedly owed to Minuteclinic

of Illinois.
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        4.      Defendant, Transworld Systems, Inc. (“Transworld”), is a California

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts, including delinquent consumer debts in the Northern

District of Illinois. In fact, Transworld was acting as a debt collector as to the delinquent

consumer debt it attempted to collect from Plaintiff.

        5.      Defendant Transworld is authorized to conduct business in the State of

Illinois and maintains a registered agent within the State of Illinois, see, record from the

Illinois Secretary of State, attached as Exhibit A. In fact, Defendant conducts business

in Illinois.

        6.      Defendant Transworld is licensed as a debt collection agency in the State

of Illinois, see, record from the Illinois Department of Professional Regulation, attached

as Exhibit B. In fact, Defendant acts as a collection agency in Illinois.

                                 FACTUAL ALLEGATIONS

        7.      On March 18, 2014, Ms. Mazur-Worden and her husband filed a Chapter

7 bankruptcy petition in a matter styled In re: Worden, N.D. Ill. Bankr. No. 14-09682.

Among the debts listed on Schedule F of Ms. Mazur-Worden’s bankruptcy petition was

a debt she allegedly owed to Minuteclinic of Illinois, see, excerpt of bankruptcy petition

attached as Exhibit C.

        8.      Accordingly, on March 21, 2014, Minuteclinic of Illinois was sent, via U. S

Mail, notice of the bankruptcy by the court, see, the Certificate of Service to the Notice

of Chapter 7 Bankruptcy Case, Meeting of Creditors and Deadlines, which is attached

as Exhibit D.



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       9.     Nonetheless, Defendant Transworld sent Ms. Mazur-Worden collection

letters, dated March 27, 2014, April 10, 2014 and April 24, 2014, demanding payment of

the Minuteclinic of Illinois debt she allegedly owed prior to the bankruptcy. Copies of

these collection letters are attached as Group Exhibit E.

       10.    All of Defendant Transworld’s collection actions at issue in this matter

occurred within one year of the date of this Complaint.

       11.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                       Violation Of § 1692e Of The FDCPA --
                   Demanding Payment Of A Debt That Is Not Owed

       12.    Plaintiff adopts and realleges ¶¶ 1-11.

       13.    Section 1692e of the FDCPA prohibits a debt collector from using any

false and/or any deceptive or misleading representation or means in connection with the

collection of a debt, including, but not limited to, the false representation of the

character, amount or legal status of any debt, see 15 U.S.C. § 1692e(2)(A).

       14.    Demanding payment of a debt that is no longer owed, due to a

bankruptcy, is false and/or deceptive or misleading, in violation of § 1692e of the

FDCPA. Randolph v. IMBS, Inc., 368 F3d 726, 728-730 (7th Cir. 2004).

       15.    Defendant Transworld’s violation of § 1692e of the FDCPA renders it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.




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                                     COUNT II
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      16.    Plaintiff adopts and realleges ¶¶ 1-11.

      17.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      18.    Here, the bankruptcy (Exhibit C) and the notice issued by that court

(Exhibit D) provided notice to cease communications and cease collections. By

communicating regarding this debt and demanding payment (Group Exhibit E),

Defendant violated § 1692c(c) of the FDCPA.

      19.    Defendant Transworld’s violation of § 1692c(c) of the FDCPA renders it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                PRAYER FOR RELIEF

      Plaintiff, Katherine Mazur-Worden, prays that this Court:

      1.     Find that Defendant Transworld’s debt collection actions violated the

FDCPA;

      2.     Enter judgment in favor of Plaintiff Mazur-Worden, and against Defendant,

for actual and statutory damages;

      3.     Award Plaintiff her costs and reasonable attorneys’ fees; and,

      4.     Grant such further relief as deemed just.




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                                      JURY DEMAND

       Plaintiff, Katherine Mazur-Worden, demands trial by jury.


                                                     Katherine Mazur-Worden,

                                                     By:/s/ David J. Philipps___
                                                     One of Plaintiff's Attorneys

Dated: June 17, 2014

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